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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     (at Lexington)

   UNITED STATES OF AMERICA,                         )
                                                     )
          Plaintiff/Respondent,                      )   Criminal Action No. 5: 18-011-DCR
                                                     )                   and
   V.                                                )    Civil Action No. 5: 20-167-DCR
                                                     )
   KEVIN LABRICIO FRAZIER,                           )     MEMORANDUM OPINION
                                                     )         AND ORDER
          Defendant/Movant.                          )

                                      *** *** *** ***

        Defendant Kevin Labricio Frazier has filed a motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S.C. § 2255. [Record No. 62] Frazier alleges that his trial counsel

 was constitutionally ineffective by failing to object to his career offender status. The motion

 has been fully briefed, and the United States Magistrate Judge assigned to the case has issued

 a Report and Recommendation (“R&R”). [Record Nos. 71, 72, and 74] Frazier has also filed

 objections to the R&R. [Record No. 77] The R&R will be adopted in full and Frazier’s motion

 will be denied because his arguments are without merit.

                                                I.

         Frazier repeatedly beat and punched a fellow inmate, Jordan Hughes, in the face while

 Frazier was incarcerated at the Federal Medical Center in Lexington, Kentucky. [Record No.

 52, p. 21] Hughes suffered multiple facial fractures, pain, and loss of consciousness. [Id. at

 p. 17] following the incident, Frazier was indicted for one count of assault resulting in serious

 bodily injury in violation of 18 U.S.C. § 113(a)(6). [Record No. 1] Frazier admitted during



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 trial that he had assaulted Hughes, and that the assault took place at a federal correctional

 institution. However, he argued that Hughes did not suffer “serious” bodily injury as a result

 of his actions. [Id. at pp. 23–28] The jury disagreed and found Frazier guilty. [Record No.

 32]

        During the sentencing hearing, Frazier, through counsel, did not object to his career

 offender status.    [Record No. 54, pp. 6–7]         Frazier was sentenced to 115 months’

 imprisonment, followed by three years of supervised release. [Record No. 45] On appeal,

 Frazier challenged his designation as a career offender. United States v. Frazier, 769 F. App’x

 268, 272 (6th Cir. 2019). He contended that, because the evidence only established guilt for

 simple assault, his instant offense of conviction did not constitute a crime of violence. Id. The

 Sixth Circuit easily rejected his arguments and affirmed the judgment and sentence. Id.

 Frazier now seeks to again challenge this determination through a § 2255 motion. [Record

 No. 62]

                                                II.

        The United States Magistrate Judge issued an R&R on September 11, 2020, rejecting

 Frazier’s arguments and recommending that his motion be denied. [Record No. 74] The Court

 “must determine de novo any proposed finding or recommendation to which objection is

 made.” Rule 8(b) of the Rules Governing Section 2255 Proceedings. However, review is not

 necessary where a defendant fails to object. See Thomas v. Arn, 474 U.S. 140, 150 (1985). As

 noted, Frazier has filed timely objections. [Record No. 77] Accordingly, the Court has

 conducted a de novo review of the R&R.




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        As noted, Frazier argues that his counsel was ineffective for failing to object to his

 designation as a career offender. Specifically, he challenges his attorney’s failure to argue that

 his assault of Hughes does not qualify as a crime of violence. [Record No. 62, pp. 5–6]

 Ineffective-assistance-of-counsel claims are governed by Strickland v. Washington. 466 U.S.

 668, 687 (1984). Strickland’s two-part test requires that Frazier establish that his “counsel’s

 representation fell below an objective standard of reasonableness,” id. at 687–89, and that

 “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

 proceeding would have been different,” id. at 694. His arguments fall short under this standard.

        At sentencing, Frazier’s guidelines range was calculated based on his designation as a

 career offender.    A defendant is a career offender under the United States Sentencing

 Guidelines if:

        (1) [he] was at least eighteen years old at the time [he] committed the instant
        offense of conviction; (2) the instant offense of conviction is a felony that is
        either a crime of violence or a controlled substance offense; and (3) [he] has at
        least two prior felony convictions of either a crime of violence or a controlled
        substance offense.

 U.S.S.G. § 4B1.1(a). Frazier does not dispute the first or third requirements. He alleges,

 however, that his trial counsel was ineffective by failing to argue that the instant offense of

 conviction (i.e., assault resulting in serious bodily injury) was not a crime of violence. His

 argument is foreclosed by binding precedent.

        A crime of violence “means any offense under federal or state law, punishable by

 imprisonment for a term exceeding one year, that . . . has as an element the use, attempted use,

 or threatened use of physical force against the person of another.” U.S.S.G. § 4B1.2(a)(1).

 Frazier was convicted of a violation of 18 U.S.C. § 113(a)(6), which forbids “[a]ssault



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 resulting in serious bodily injury” within the territorial jurisdiction of the United States.1

 “Whether § 113(a)(6) qualifies [as a crime of violence] is a question that answers itself: How

 would it be possible to suffer serious bodily injury without force capable of producing such

 injury?” United States v. Verwiebe, 874 F.3d 258, 261 (6th Cir. 2017). The Sixth Circuit has

 left no room for debate: Frazier’s conviction qualifies him for designation as a career offender.

        Trial counsel stated in an affidavit that any challenge to Frazier’s career-offender

 designation would “constitute a frivolous objection” in light of Verwiebe. [Record No. 71-1,

 ¶ 7] And on direct appeal, the Sixth Circuit found the argument that his offense did not qualify

 him for a career-offender designation to be “without merit.” Frazier, 769 F. App’x at 272.

 His argument remains frivolous and meritless today.

        It is well-established that “[f]ailure of trial counsel to raise wholly meritless claims

 cannot be ineffective assistance of counsel.” United States v. Martin, 45 F. App’x 378, 381–

 82 (6th Cir. 2002) (citing Strickland, 466 U.S. at 686–87); see also United States v. Brown,

 727 F. App’x 126, 132 (6th Cir. 2018) (finding counsel was not constitutionally ineffective

 where the defendant “clearly met all three conditions necessary to be sentenced as a career

 offender pursuant to U.S.S.G. § 4B1.1(a)”). Frazier can offer no evidence to overcome this

 weakness in his claims, and his motion will be denied.




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        Whether this offense of conviction constitutes a crime of violence is assessed under the
 categorical approach. United States v. Verwiebe, 874 F.3d 258, 260 (6th Cir. 2017). To the
 extent Frazier continues to argue the modified categorical approach applies, his argument lacks
 merit.


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                                               III.

        Finally, the Court must issue or deny a Certificate of Appealability when it enters a

 final order that is adverse to the movant in a § 2255 proceeding. Rule 11 of the Rules

 Governing Section 2255 Proceedings; 28 U.S.C. § 2253(c)(1)(B).               A Certificate of

 Appealability may be issued only when the defendant has “made a substantial showing of the

 denial of a constitutional right.” § 2253(c)(2). To satisfy this burden, a defendant must show

 that reasonable jurists could debate whether the petition should have been resolved in a

 different way or that the issues involved were adequate to proceed further. Slack v. McDaniel,

 529 U.S. 473, 484 (2000). Frazier cannot establish that a challenge to his designation as a

 career offender would have succeeded. And as the Court has explained, counsel was not

 obligated to present a meritless argument. Under binding Sixth Circuit precedent, assault

 resulting in serious bodily injury is a crime of violence. No reasonable jurist could debate

 whether counsel’s failure to disregard binding precedent and object to Frazier’s career offender

 status was constitutionally ineffective. Accordingly, a Certificate of Appealability will be

 denied.

                                               IV.

        Based on the foregoing analysis and discussion, it is hereby

        ORDERED that

        1.     Defendant Frazier’s motion to correct, vacate, or set aside sentence pursuant to

 28 U.S.C. § 2255 [Record No. 62] is DENIED.




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       2.    The United States Magistrate Judge’s Report and Recommendation [Record No.

 74] is ADOPTED and INCORPORATED, in full. Frazier’s objections to the Report and

 Recommendation [Record No. 77] are OVERRULED.

       3.    A Certificate of Appealability shall not issue on any issue presented by Frazier.

       Dated: October 19, 2020.




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